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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                             FT. LAUDERDALE DIVISION

  ZACHARY PAUL CRUZ,                            )
                                                )
         Plaintiff,                             )
                                                )
  v.                                            )       Case No.
                                                )
  CAPTAIN SHEREA GREEN, in her                  )
  individual capacity,                          )
  MICHAEL J. SATZ, in his official              )
  and individual capacity                       )
  as State Attorney for the Office of the State )
  Attorney in and for Broward County,           )
  SARAHNELL MURPHY, in her official             )
  and individual capacity as Assistant          )
  State Attorney for                            )
  the Office of the State Attorney in and for   )       JURY TRIAL DEMANDED
  Broward County,                               )
  JUDGE KIM THERESA MOLLICA, in                 )
  her individual capacity as Judge for the      )
  Seventeenth Judicial Circuit,                 )
  JOHN DOE #1, in his individual capacity,      )
  JOHN DOE #2, in his individual capacity,      )
  and                                           )
  JOHN DOE #3, in his individual capacity,      )
                                                )
         Defendants.                            )
  __________________________________________)

                                       COMPLAINT

        Plaintiff, Zachary Paul Cruz, files this Complaint against Defendants Captain

  Sherea Green, Broward County Sheriff’s Office; Michael J. Satz, State Attorney, Office of

  the State Attorney in and for Broward County; Sarahnell Murphy, Assistant State

  Attorney, Office of the State Attorney in and for Broward County; Judge Kim Theresa

  Mollica, Judge, Seventeenth Judicial Circuit; John Doe #1; John Doe #2 and John Doe #3,


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  utilizing 42 U.S.C. § 1983 as the statutory vehicle to vindicate his rights under the Fourth,

  Eighth, and Fourteenth Amendment of the U.S. Constitution, and all other applicable

  laws. In support thereof, the Plaintiff would state that:

                                      INTRODUCTION

         At bottom, fear drove these Defendants to trample the Constitutional rights of Mr.

  Cruz, because he is related to a man who committed a most heinous act. On March 19,

  2018 Broward County Deputies arrested Zachary Cruz on a simple misdemeanor trespass

  charge, that carried with it a court scheduled bond of just $25. Once Cruz arrived at

  Broward County Jail, his constitutional rights vanished. The starting point: Cruz’s $25

  bail was posted at approximately 9:54 pm on the day of his arrest. His records show that

  about an hour later, a decision was made that Cruz was in danger of being released ‘into

  the streets.’ So instead of doing what the Constitution and law require—releasing Mr.

  Cruz on his own recognizance because he was aged 18—Defendant Green condoned,

  ordered, and ratified Cruz’s continued, unlawful detention in Broward County Jail, upon

  information and belief.

         Next, while being held unlawfully, Cruz went before Defendant Mollica, who

  imposed a grossly disproportional and unconstitutional half-million-dollar bond on a

  misdemeanor charge, that carried with it a $25 bond that had already been paid. Said

  differently, Defendant Mollica imposed a bond that was literally 20,000 times greater than

  the court scheduled bond of $25—for solely a misdemeanor charge with no aggravating

  factors according to all documentation of the charge.




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         After that, upon information and belief, Green condoned and ordered Cruz to be

  committed to a mental institution, despite his medical records indicating otherwise.

  Essentially, because Cruz’s brother committed a heinous act that only a severely mentally

  disturbed person could commit, these Defendants decided that Zachary Cruz must be

  just as mentally disturbed – despite all signs saying that he is not. Broward Heath Medical

  Center agrees that Cruz does not pose a danger to himself or others.

         After spending five days at Broward Health Medical Center, BHMC decided

  against prescribing Cruz any mental health medication because, based on their

  professionals’ observation, Cruz simply did not display the signs of a mentally disturbed

  person. Consequently, Cruz was released back to Green, and Defendant Green picked up

  right where she left off: violating Cruz’s Constitutional rights. Cruz was immediately

  placed on suicide watch; placed in a weighted suicide vest; then placed in a room with

  booming bright lights that shone 24 hours a day, for the entire five days he was there.

  Making matters worse, Green assigned a “one-on-one” deputy to intimidate Cruz around

  the clock. As you can imagine, Cruz suffered from severe sleep deprivation under these

  conditions.

         In sum, from unlawfully confining Cruz to jail, imposing a grossly

  unconstitutional bond upon him, then shipping him to a mental health facility with no

  objective justification, then bringing him back to jail to place him under bright lights,

  while weighing him down with a suicide jacket, and posting a guard by his side for “one-

  on-one” intimidation, these Defendants unsurprisingly coerced a plea deal from Mr.

  Cruz. Under those conditions, Cruz suffered from nothing less than undue and severe


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  duress. And to escape those conditions, Cruz took whatever plea deal was demanded, as

  evidenced by Mr. Cruz taking an astonishingly unconstitutional plea deal that literally

  bans him from all school property-- anywhere in the United States.

                               JURISDICTION AND VENUE

                                               1.

         This Court has jurisdiction over the federal claims in this action in accordance with

  28 U.S.C. § 1331, as the claims raise federal questions under the laws and Constitution of

  the United States.

                                               2.

         This Court has personal Jurisdiction over the Defendants as they reside and are

  domiciled within Broward County, Florida.

                                               3.

         Venue is proper in the Southern District of Florida, Ft. Lauderdale Division, under

  28 U.S.C. §§ 1391(b)(1) and 1391(b)(2) as the Defendants reside in this District and all, or

  a substantial part of all, the events giving rise to the claims in this Complaint occurred

  within this District.

                                          PARTIES

                                               4.

         At all times relevant to this Complaint, Defendant Captain Sherea Green was a

  United States citizen, a Florida resident, a sworn deputy of the Broward County Sheriff’s

  Office, and the Executive Officer of Broward County Main Jail. At all times relevant to

  this Complaint, Defendant Green was acting under color of state law. At all times relevant


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  to this Complaint, Defendant Green was subject to the laws of the State of Florida and the

  Constitution of the United States. At all times relevant to this Complaint, Defendant

  Green was responsible for knowing and acting in accordance with all policies,

  procedures, orders, special orders, general orders, guidelines and regulations of the

  Broward County Sheriff’s Office. At all times relevant to this Complaint, Defendant

  Green was responsible for the operation of the Broward County Main Jail, for the conduct

  of the officers therein and for the treatment of pretrial detainees housed therein. Mr. Cruz

  is using 42 U.S.C. § 1983 as the vehicle to sue Defendant Green in her individual capacity

  regarding the federal claims relating to his treatment as a pretrial detainee with the

  Broward County Main Jail.

                                               5.

         Defendant John Doe #1 was at all times relevant to this Complaint a deputy with

  the Broward County Sheriff’s Office, was a United States citizen, a Florida resident, and

  a sworn deputy of the Broward County Sheriff’s Office. At all times relevant to this

  Complaint, Defendant John Doe #1 was acting under color of state law. At all times

  relevant to this Complaint, Defendant John Doe #1 was subject to the laws of the State of

  Florida and the Constitution of the United States. At all times relevant to this Complaint,

  Defendant John Doe #1 was responsible for knowing and acting in accordance with all

  policies, procedures, orders, special orders, general orders, guidelines and regulations of

  the Broward County Sheriff’s Office. Mr. Cruz is using 42 U.S.C. § 1983 as the vehicle to

  sue John Doe #1 in his individual capacity regarding the federal claims relating to his




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  treatment   as   a   pretrial   detainee   with   the   Broward     County    Main     Jail.



                                              6.

         John Doe #2 and John Doe #3 were United States citizens, Florida residents, sworn

  deputies of the Broward County Sheriff’s Office, and Correctional Officers of Broward

  County Main Jail. At all times relevant to this Complaint, John Doe #2 and John Doe #3

  were acting under color of state law. At all times relevant to this Complaint, John Doe #2

  and John Doe #3 were subject to the laws of the State of Florida and the Constitution of

  the United States. At all times relevant to this Complaint, John Doe #2 and John Doe #3

  were responsible for knowing and acting in accordance with all policies, procedures,

  orders, special orders, general orders, guidelines and regulations of the Broward County

  Sheriff’s Office. Mr. Cruz is using 42 U.S.C. § 1983 as the vehicle to sue Defendants John

  Doe #2 and John Doe #3 in their individual capacities regarding the federal claims

  relating to his treatment as a pretrial detainee with the Broward County Main Jail.

                                              7.

         Judge Kim Theresa Mollica was, at all times relevant to this Complaint, the Judge

  who heard the Plaintiff’s bond hearing and issued the $500,000 bond with the attendant

  conditions. At all times relevant to this Complaint, Defendant Mollica was acting under

  color of state law. At all times relevant to this Complaint Defendant Mollica was subject

  to the laws of the State of Florida and the Constitution of the United States. At all times

  relevant to this Complaint Defendant Mollica was responsible for knowing and acting in

  accordance with all policies, procedures, orders, special orders, guidelines, and


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  regulations of the Florida Bar and the Judicial Ethics Committee. Mr. Cruz is using 42

  U.S.C. § 1983 as the vehicle to sue Defendant Mollica regarding the federal claims relating

  to his excessive bond.

                                               8.

         State Attorney Michael J. Satz was, at all times relevant to this Complaint, the State

  Attorney who oversaw the prosecution of the Plaintiff’s bond hearing and provided final

  approval of the plea deal with the attendant conditions. At all times relevant to this

  Complaint, Defendant Satz was acting under color of state law. At all times relevant to

  this Complaint Defendant Satz was subject to the laws of the State of Florida and the

  Constitution of the United States. At all times relevant to this Complaint, Defendant Satz

  was the policy maker for the Office of the State Attorney for the 17th Judicial Circuit in

  and for Broward County, Florida, as it related to requests for bail and for negotiating and

  obtaining plea agreements. At all times relevant to this Complaint Defendant Satz was

  responsible for knowing and acting in accordance with all policies, procedures, orders,

  special orders, guidelines, and regulations of the Florida Bar and the Office of the State

  Attorney for the 17th Judicial Circuit in and for Broward County, Florida. Mr. Cruz is

  using 42 U.S.C. § 1983 as the vehicle to sue Defendant Satz regarding the federal claims

  relating to his unconscionably obtained plea deal.

                                               9.

         Assistant State Attorney Sarahnell Murphy was, at all times relevant to this

  Complaint, the Assistant State Attorney who prosecuted the Plaintiff’s bond hearing and

  negotiated the plea deal with the attendant conditions. At all times relevant to this


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  Complaint, Defendant Murphy was acting under color of state law. At all times relevant

  to this Complaint Defendant Satz was subject to the laws of the State of Florida and the

  Constitution of the United States. At all times relevant to this Complaint Defendant

  Murphy was responsible for knowing and acting in accordance with all policies,

  procedures, orders, special orders, guidelines, and regulations of the Florida Bar and of

  the Office of the State Attorney for the 17th Judicial Circuit in and for Broward County,

  Florida. Mr. Cruz is using 42 U.S.C. § 1983 as the vehicle to sue Defendant Murphy

  regarding the federal claims relating to his unconscionably obtained plea deal.

                                 STATEMENT OF FACTS

                                              10.

         Zachary Paul Cruz is an ordinary teenage boy. Unfortunately, Cruz’s life has been

  marred by both tragedy and stigma. The last year has been particularly hard on Cruz. In

  November of 2017, Cruz’s adoptive mother passed away. Cruz was forced to leave the

  home he knew and withdraw from his high school where all his friends were, Marjory

  Stoneman Douglas High School. Cruz moved to his legal guardian’s home in Palm Beach

  County.

                                              11.

         Then, on February 14, 2018, Zachary Cruz’s brother perpetrated the school

  shooting at Marjory Stoneman Douglas High School. In an instant, Cruz went from a

  child suffering a personal tragedy to the brother of a mass shooter, feared and reviled for

  the family he was born into.




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                                             12.

          On March 19, 2018, Cruz was skateboarding around his prior hometown of

  Parkland, Florida. Cruz was not carrying a weapon. He did not make any threats, did not

  approach anyone, aggressively or otherwise, and did not behave in any odd manner.

  Cruz was merely behaving as a normal 18-year-old boy would, whiling a day away by

  skating around his town before meeting up with friends.

                                             13.

          Cruz did, unfortunately, skate onto the grounds of Marjory Stoneman Douglas

  High School. He did not break into any structures, break any gates, or otherwise force

  any entry. Cruz skated on the street and onto the grounds of the school after school was

  over, when the students had already been dismissed for the day. For any normal child,

  this would not be a major issue. Unfortunately for Zachary, he is the brother of Nicholas

  Cruz.

     A. The Arrest and Unlawful Seizure

                                             14.

          When police approached Cruz on that day, that relationship would spark a series

  of events that resulted in the emotional and physical abuse of Cruz, culminating in an

  unconstitutionally coerced plea agreement.

                                             15.

          While skateboarding away from the high school, Cruz was approached by a

  Broward County Sheriff’s Deputy. Upon being stopped by the Deputy, Cruz was

  cooperative, he did not flee, did not resist, and freely answered questions.


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                                               16.

          Cruz was also clear, calm and coherent. Cruz provided his name, telephone

   number and details regarding his employment and living situation. When asked why he

   was there, Cruz also provided an answer understandable for anyone suffering through a

   traumatic experience; he was trying to soak it all in.

                                               17.

          Initially, the Deputies were preparing to issue a trespass warning to Cruz.

   However, upon learning who he was, Deputies arrested Cruz instead.

                                               18.

          According to the bond schedule issued by Administrative Order of the Circuit

   Court of the Seventeenth Judicial Circuit in and for Broward County, Florida, Order

   Number 2015-14-Crim, the bond for this charge is set at $25.

                                               19.

          At 9:54 p.m. on March 19, 2018, Cruz’s bond was paid. Captain Sherea Green and

   the officers under her command refused to release Cruz after that bond was paid. At 11:00

   on March 19, 2018, a medical report by Gale Kite, Ed.D ARNP, was written that states

   that Cruz has no telephone, no car, and no responsible transportation, he is at risk of

   being released to the streets, and has the entire community at unease.

                                               20.

          While in the custody of Broward Medical Health Center, the Broward County

   Sheriff’s Office placed a Deputy outside of the medical unit guarding Cruz at all times.




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   Further, upon discharge, Broward Health Medical Center notified “the captain

   [Defendant Green] as per instructed” of his discharge.

                                                21.

          On the day of his arrest Cruz did, in fact, have his bond paid and attempted to

   depart detention. Staff at Broward County Main Jail, however, refused to release Cruz.

      B. The Excessive Bond

                                                22.

          The next day, March 20, 2018, Cruz was taken before Judge Mollica for a bond

   hearing. At that hearing, the Assistant State Attorney Sarahnell Murphy requested bond

   be set at $750,000. Murphy argued that Cruz should not be permitted to return to

   Broward County, should have his home searched prior to his return, be barred from any

   school property, and be on house arrest and subject to GPS tracking. This, as was clearly

   stated at the hearing, was to be instituted as a result of the fear his presence invokes

   because of his family relationship. Murphy specifically asked that the Judge use every

   means available to ensure that the “students can attend school without fear”.

                                                23.

          The Judge reset Cruz’s bond at $500,000. The Judge noted that Cruz is the brother

   of Nicholas Cruz. The Judge noted that the students of Marjory Stoneman Douglas High

   School deserve to feel safe and that the Court was concerned that they had just suffered

   a tragedy. The Judge then set a host of additional restrictions, including a search of Cruz’s

   home, barring Cruz from Broward County, ordering Cruz not to come within one mile




                                                                                             11
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   of Marjory Stoneman Douglas High School, and to have no contact with his brother or

   with any Marjory Stoneman Douglas High School student.

      C. The Unconstitutional Conditions of Confinement

                                              24.

         On March 20, 2018, at approximately 11:00 am, Cruz was Baker Acted and taken

   to Broward Health Medical Center. The medical records of Broward Health Medical

   Center indicate that Cruz was Baker Acted for trespass and bizarre behavior. Trespass

   does not justify a Baker Act. The only grounds possible is bizarre behavior by Cruz. Video

   of Cruz’s arrest, however, shows no behavior by Cruz that can be considered bizarre.

   Cruz is calm and compliant. Cruz answered questions in a straightforward, clear, and

   coherent manner at the time of his arrest. Nowhere in the video of the arrest released to

   the public is any bizarre behavior by Cruz on display. In the medical records of the

   Broward County Main Jail, for March 19, Cruz is noted as showing appropriate behavior.

   There is simply no indication of bizarre behavior.

                                              25.

         Cruz spent five days at that facility undergoing repeated mental health

   evaluations and on a 24 hour a day watch, which included checks every 15 minutes by

   hospital staff. Broward Health Medical Center did not keep Cruz under 24-hour lights.

   The doctors there found no depression, suicidal behaviors or ideation, or homicidal

   behavior or ideation. Cruz was noted as being pleasant, cooperative, and alert. Reported

   sadness was temporary and not clinically troubling.




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                                                 26.

          Cruz was released after five days, without any prescription for medication. The

   hospital did state that Cruz had adjustment disorder because of the recent events in his

   life. The hospital did recommend continued monitoring.

                                                 27.

          Once in the care of the Broward County Main Jail, Cruz’s treatment became

   immediately harsher. Cruz was placed in the Infirmary on 24 hour a day lock down,

   leaving his cell only for visits to his attorney or his daily nurse calls. Again, it is important

   to note that Cruz was held as a pretrial detainee on a misdemeanor trespassing charge

   and had been fully cooperative with law enforcement.

                                                 28.

          Cruz was initially placed in a suicide vest, a heavy restraint vest that limited his

   movement, 24 hours a day. Upon information and belief, this vest was removed after

   Cruz agreed to accept the plea deal. He was placed under constant, bright lighting 24

   hours a day. This lighting was not dimmed at night and severely interfered with Cruz’s

   ability to sleep, as did the suicide vest.

                                                 29.

          A guard was placed with Cruz for one on one “observation” until he was released

   on March 29, 2018.

                                                 30.

          On Cruz’s daily visits to the jail nurse, the nurse on duty continually harassed

   Cruz, asserting that ‘you’re not ok’ and that there must be something wrong with Cruz.


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   The guard accompanying Cruz would nod and agree with this assessment. Cruz was not

   defiant but would not admit to mental health issues he did not possess.

      D. The Unconscionably Obtained Plea Deal

                                              31.

          Eventually, after spending 240 hours in confinement, 120 of them locked in a cell

   under constant lighting, with little sleep, and forced to remain in a heavy suicide vest,

   Cruz agreed to the plea deal offered by the States Attorney. Cruz accepted this deal only

   to escape this treatment.

                                              32.

          The plea deal Cruz is subject to requires Cruz to again undergo mental health

   evaluation. It requires that Cruz serve 6 months probation, remain 1 mile from Marjory

   Stoneman Douglas High School, not possess firearm or weapons, not possess alcohol or

   drugs, and it requires that Cruz not set foot on any school campus wherein he is not

   enrolled, not visit or have any contact with any student of Marjory Stoneman Douglas

   High School and to have no contact with his brother.

                                              33.

          This plea bargain makes it difficult for Cruz to finish high school, as he would be

   required to spend at least some time on school grounds to become enrolled.

                                              34.

          This plea bargain cuts Cruz off from contact with any of his friends from his

   hometown, friends he made while attending Marjory Stoneman Douglas High School.




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   This removes a major source of social support from Cruz during a difficult time, made

   more difficult by the actions of the Defendants.

                                               35.

          This plea bargain also cuts Cruz off from access to his brother, who is his family

   despite his actions. This deprives Cruz of his ability to seek understanding and solace

   from his family during a difficult time, made more difficult by the actions of the

   Defendants.

                                               36.

          Cruz would have challenged his arrest at trial, or at least negotiated a better deal,

   had he not been subject to the treatment he received in Broward County Main Jail. Cruz’s

   acceptance of the plea deal was obtained through the coercive and abusive treatment he

   received from the Broward County Main Jail staff.

                                               37.

          Each and every part of Cruz’s treatment, from his continual Baker Act holds, to his

   unconstitutionally high bail and conditions, his mistreatment within the jail, and the

   harsh conditions of his unconscionably obtained plea agreement result from who Cruz is

   related to.

                                      COUNT I
                 VIOLATION OF CRUZ’S FOURTH AMENDMENT
        RIGHTS FOR FAILURE TO RELEASE PLAINTIFF UPON PAYING BOND
               (Against Captain Sherea Green in her individual capacity)
                                         38.

          Cruz hereby restates and incorporates by reference the allegations contained in

   paragraphs 1-37 as if set forth herein.


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                                               39.

          At all times relevant to this Complaint, Cruz had a clearly established right under

   the Fourth Amendment to the United States Constitution to be free from unreasonable

   seizures of his person by law enforcement officers such Captain Sherea Green and her

   subordinates.

                                               40.

          On March 19, 2018, Cruz was arrested for trespassing. Per administrative order,

   the bond for this crime is set at $25. At 9:54 p.m. on March 19, 2018, Cruz’s bond was

   paid. Captain Sherea Green and the officers under her command refused to release Mr.

   Cruz after that bond was paid. At 11:00 on March 19, 2018, a medical report by Gale Kite,

   Ed.D ARNP, states that Cruz has no telephone, no car, and no responsible transportation,

   he is at risk of being released to the streets, and has the entire community is at unease.

                                               41.

          On March 20, 2018, Cruz was taken before Judge Mollica for a bail hearing, despite

   Cruz’s bond having already been paid. At that time, Cruz’s bond was reset for $500,000

   and he was returned to the jail.

                                               42.

          Due to the Defendant’s conduct, based on the facts incorporated into this Count

   and the allegations within this Count, Cruz is entitled to the relief he seeks.




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                                   COUNT II
    VIOLATION OF CRUZ’S FOURTEENTH AMENDMENT DUE PROCESS RIGHT
          FOR FAILURE TO RELEASE PLAINTIFF UPON PAYING BOND
             (Against Captain Sherea Green in her individual capacity)

                                               43.

          Cruz hereby restates and incorporates by reference the allegations contained in

   paragraphs 1-37 as if set forth herein.

                                               44.

          Based on all the facts incorporated to support this Count, Green violated Cruz’s

   due process rights because he was due the process of being released as a matter of law

   once he posted his bond, yet, Green violated his due process rights by unlawfully

   maintaining Cruz in jail and thus unlawfully restricting his liberty.

                                      COUNT III
          VIOLATION OF CRUZ’S FOURTEENTH AMENDMENT RIGHTS
    FOR MISTREATMENT AND ABUSE WITHIN BROWARD COUNTY MAIN JAIL
       (Against Captain Sherea Green, John Doe #1, John Doe #2, and John Doe #3
                       in their respective individual capacities)

                                               45.

          Cruz hereby restates and incorporates by reference the allegations contained in

   paragraphs 1-37 as if set forth herein.

                                               46.

          Based on all facts that have been incorporated to support this Count, Captain

   Green was responsible for the conduct of her officers while securing pretrial detainees in

   Broward County Main Jail. Captain Green, upon information and belief, approved the

   assignment of a Deputy to Cruz’s cell 24 hours a day. Defendant Green is responsible for,




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   and approved, the placement of Cruz in a suicide restraint vest, 24 hours a day.

   Defendant Green is responsible for, and approved, the placement of Cruz on 24-hour

   lighting, with no dimming of the light to permit sleep. John Doe #1 Baker Acted Cruz

   without adequate cause, which act Defendant Green ratified and approved.

                                                 47.

          While Broward Health Medical Center did recommend that Cruz continue on

   suicide prevention, the decision of how to enact that watch was in Defendant Green’s

   discretion. Cruz was not on any medication. Cruz was noted as pleasant, compliant, and

   without suicidal or homicidal thoughts or ideations. At Broward Health Medical Center,

   Cruz was on suicide watch that included checks every 15 minutes.

                                                 48.

          Defendant Green instituted the coercive and punishing procedures in place for

   Cruz. These procedures went far beyond a simple suicide watch and included

   precautions that lead to sleep deprivation.

                                                 49.

          Due to the Defendants’ conduct, based on the facts incorporated into this Count

   and the allegations within this Count, Cruz is entitled to the relief he seeks.




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                                     COUNT IV
          DECLARATORY AND INJUNCTTIVE RELIEF FOR EXCESSIVE BAIL
             (Against Judge Kim Theresa Mollica in her individual capacity)

                                                50.

          Cruz hereby restates and incorporates by reference the allegations contained in

   paragraphs 1-37 as if set forth herein.

                                                51.

          Based on all facts that have been incorporated to support this Count, Judge Mollica

   issued bail far in excess of the standard bail for this offense. In addition, Judge Mollica

   issued a series of bail conditions with little or no connection to ensuring Cruz’s

   appearance at trial or with the safety of the community.

                                                52.

          Judge Mollica issued a bail set at $500,000. This bail is far in excess of the bail

   normal for this minor offense and bears no relationship to the crime accused. Further,

   this bail is far beyond any financial ability of Cruz to pay, whose only alleged asset at the

   hearing was a $25,000 insurance policy from his mother. While bail is not a constitutional

   guarantee, where bail is given it cannot be so excessive as to constitute a fine.

                                                53.

          In addition, the conditions set for this bail demonstrate that it is not related to the

   appearance of Cruz at trial. Cruz was to be banned from Broward County completely,

   except to attend court hearings. This provision seems to encourage failure to appear

   rather than his appearance.




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                                                 54.

          Further, the conditions were not rationally related to any legitimate safety

   concerns of the public. Cruz did not present any danger and had no indications of any

   danger to the community other than his relationship to Nicholas Cruz. While his release

   from jail may have made the students of Marjory Stoneman Douglas High School and

   their parents apprehensive, this does not increase any danger posed by Cruz. The

   students deserve to be able to attend school without fear but they do not have the right

   for Cruz to be jailed to ensure that lack of fear.

                                                 55.

          Due to the Defendant’s conduct, based on the facts incorporated into this Count

   and the allegations within this Count, Cruz is entitled to the relief he seeks.

                                        COUNT V
                      DECLARATORY AND INJUNCTIVE RELIEF
                      FOR UNCONSCIONABLY OBTAINED PLEA
    (Against Assistant State Attorney Sarahnell Murphy, State Attorney Michael J. Satz,
               and Judge Kim Theresa Mollica in their respective capacities)

                                                 56.

          Cruz hereby restates and incorporates by reference the allegations contained in

   paragraphs 1-37 as if set forth herein.

                                                 57.

          Cruz accepted the plea deal offered by Murphy and approved by Satz only as a

   result of the unconscionable conditions of his confinement. Absent the abuse and

   mistreatment of his incarceration, Cruz would not have signed the deal.




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                                               58.

          The deal offered by Murphy contained conditions of release significantly greater

   than that received by similarly situated defendants. Upon information and belief,

   Murphy had reason to know of the conditions of Cruz’s confinement. As such, Cruz’s

   agreement to the deal was not freely and knowingly given. As such, the contract was

   obtained through unconscionable means and the plea deal in null and void; Cruz did not

   give informed consent. Plaintiff requests that the deal be set aside as to the provisions

   barring Cruz from being on any school grounds, from having contact with Marjory

   Stoneman Douglas High School Students, and from having contact with his brother.

                                               59.

          Due to the Defendants’ conduct, based on the facts incorporated into this Count

   and the allegations within this Count, Cruz is entitled to the relief he seeks.

                                        COUNT IV
                      DECLARATORY AND INJUNCTIVE RELIEF
                       FOR AN UNCONSCIONABLE CONTRACT
    (Against Assistant State Attorney Sarahnell Murphy, State Attorney Michael J. Satz,
           and Judge Kim Theresa Mollica in their respective official capacities)


                                               60.

          Cruz hereby restates and incorporates by reference the allegations contained in

   paragraphs 1-37 as if set forth herein.

                                               61.

          Based on the facts incorporated to support this Count, the probation agreement

   is a contract, and the contents of the contract are unconscionable; thus, the contract is

   void. It is unconscionable to ban Cruz from all school campuses in the United Stated


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   because he was charged with a misdemeanor trespass on one school property and his

   brother committed a heinous act on school property. There is no evidence that Cruz

   colluded with his brother in any way to commit that heinous act nor has Cruz been

   arrested in connection with the crime of which his brother is accused. Plus, Cruz’s

   charge is a simple misdemeanor—nothing more according to all his documentation.

   Cruz requests that this that this contract be set aside as to the provisions barring Cruz

   from being on any school grounds, from having contact with Marjory Stoneman

   Douglas High School Students, and from having contact with his brother.

                                               62.

          Due to the Defendants’ conduct, based on the facts incorporated into this Count

   and the allegations within this Count, Cruz is entitled to the relief he seeks.



                                        COUNT II
                    STATE LAW CLAIM OF FALSE IMPRISONMENT
                  (Against Captain Sherea Green in her individual capacity)

                                               63.

          Based on the facts alleged in this Complaint, from paragraphs 1-37, Green falsely

   imprisoned Plaintiff by continuing Plaintiff’s incarceration when Green knew she had no

   lawful authority to do so. As such, Plaintiff is entitled to all damages permissible by law.

                                          COUNT V
                                  PUNITIVE DAMAGES
                  (Against Captain Sherea Green, John Doe #1, John Doe #2,
                   and John Doe #3 in their respective individual capacities)

                                               64.




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          Based on the facts alleged in this Complaint, Plaintiff is entitled to punitive

   damages, under all applicable laws, because, inter alia, Defendants Green, Doe #1, Doe

   #2 and Doe #3 acted with willful and conscious indifference to the laws that protect

   Cruz’s Constitutional rights.

                                           COUNT VI
                                        ATTORNEY FEES
                                     (Against All Defendants)

          Based on the facts alleged in this Complaint, the Plaintiff is entitled to attorney’s

   fees against all defendants under 42 U.S.C. § 1983, § 1988(b), and all applicable laws.

          WHEREFORE, Plaintiff prays this Court:

      a) That process issue and service be had on each Defendant;

      b) That a jury trial be had on all issues so triable;

      c) That Plaintiff recover all costs of this litigation;

      d) That Plaintiff be awarded all other expenses in an amount to be determined at trial,

          including attorney fees;

      e) That Plaintiff have judgment against Defendant Green for punitive damages;

      f) That this Court grant equitable and declaratory relief Plaintiff has requested; and




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     g) That Plaintiff receives such other and further relief as this Court deems just and

        proper.

               Respectfully submitted on this 3rd day of May 2018,

                                                        /s/ Dallas S. LePierre
                                                        DALLAS S. LEPIERRE
                                                        Florida Bar No. 101126
                                                        Counsel for Plaintiff

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